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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  NICOLAS TALBOTT, ERICA VANDAL, KATE                    )
  COLE, GORDON HERRERO, DANY                             )
  DANRIDGE, JAMIE HASH, MIRIAM                           )
  PERELSON, KODA NATURE, and CAEL                        )
  NEARY,                                                 )
                                                         )
                          Plaintiffs,                    )
                                                         )
  v.                                                     )
                                                         )
  DONALD J. TRUMP, in his official capacity as           )
  President of the United States; the UNITED             )
  STATES OF AMERICA; PETER B. HEGSETH,                   )        Civil Action No. 1:25-cv-00240
  in his official capacity as Secretary of Defense;      )
  MARK AVERILL, in his official capacity as              )
  Acting Secretary of the Army; the UNITED               )
  STATES DEPARTMENT OF THE ARMY;                         )
  TERENCE EMMERT, in his official capacity as            )
  Acting Secretary of the Navy; the UNITED               )
  STATES DEPARTMENT OF THE NAVY;                         )
  GARY ASHWORTH, in his official capacity as             )
  Acting Secretary of the Air Force; the UNITED          )
  STATES DEPARTMENT OF THE AIR FORCE;                    )
  TELITA CROSLAND, in her official capacity as           )
  Director of the Defense Health Agency; and the         )
  DEFENSE HEALTH AGENCY,                                 )
                                                         )
                          Defendants.                    )
                                                         )


          SUPPLEMENTAL DECLARATION OF GILBERT R. CISNEROS, JR.

I, Gilbert R. Cisneros, Jr., declare as follows:

   1. I write this declaration to supplement my declaration submitted in support of the Motion
      for Preliminary Injunction in this matter on February 3, 2025. See ECF No. 13-30.

   2. I have read the Declaration of Timothy Dill (“Dill Declaration”) filed by Defendants on
      February 14, 2025. See ECF No. 52-1.

   3. The Dill Declaration states that “it would be highly unusual for individualized service
      member complaints regarding unit cohesion, military readiness, medical readiness,
      deployability, and lethality to reach the level of the Under Secretary unless the Under
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     Secretary specifically sought such information through a data call or a study.” Dill Decl. at
     2 ¶ 6.

  4. This statement does not accurately describe my degree of awareness of these matters as
     Under Secretary of Defense for Personnel and Readiness. As the Under Secretary in charge
     of readiness, it was my responsibility to be aware of unit cohesion, military readiness,
     medical readiness, deployability, and lethality. If a unit or service was dealing with
     readiness issues due to the service by transgender service members, that would have been
     brought to my attention.

  5. This is true even though in my role I would not necessarily be apprised of the daily goings
     on of individual units with respect to morale or discipline problems.

  6. For example, I was made aware of—and kept well informed of—an issue related to Junior
     Reserve Officers’ Training Corps (“JROTC”) units and instructors surrounding sexual
     harassment. I did not know the ins and outs of every JROTC unit, but when a problem
     arose, I was made aware of it so that I could deal with it in my capacity as Under Secretary.

  7. In addition and in further response, I am aware of no study that has identified a negative
     impact on unit cohesion, military readiness, medical readiness, deployability, or lethality
     due to service by transgender individuals or individuals diagnosed with gender dysphoria
     since transgender persons have been permitted to serve in the last 4 years under the Austin
     Policy.

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I declare under penalty of perjury that the foregoing is true and correct.




Date: February 16, 2025

                                           Gilbert R. Cisneros, Jr.




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